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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS

         UNITED STATES OF AMERICA                            )
                                                             )
                               v.                            )      DOCKET NO. 19-10042-NMG
                                                             )
                                                             )
         CLEBIO PIO DE LIMA                                  )



                         DEFENDANT’S SENTENCING MEMORANDUM

          Defendant, Clebio Pio De Lima, pleaded guilty on June 20, 2019 to a two-count

indictment alleging that he created and sent a false document to the United States Citizenship

and Immigration Services Office (“CIS”), in violation of 18 U.S.C. § 1001(a)(3), and that he

later made false statements about the same document to agents of the Federal Bureau of

Investigation (“FBI”), in violation of 18 U.S.C. § 1001(a)(2). Mr. De Lima has waived a full

presentence interview/investigation, and the United States Probation Department has provided

the parties and the Court with an expedited Presentence Report (“PSR”). For the reasons that

follow, Mr. De Lima requests that this Court impose a sentence of time deemed served with no

period of supervised release to follow. The proposed sentence is sufficient, but no greater than

necessary, to effectuate the considerations set forth in 18 U.S.C. § 3553(a). 1 Mr. De Lima

respectfully submits this memorandum to assist the Court with sentencing.

    I.       Defendant’s Background




1
 United States Sentencing Guidelines Section 5D1.1(c) states that the Court “ordinarily should not impose a term of
supervised release in a case in which supervised release in not required by statute and the defendant is a deportable
alien who likely will be deported after imprisonment.”
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          Clebio Pio De Lima is now 43 years old. He was born in Simonésia, Brazil. He

graduated from high school in Brazil in 1998 but has no education beyond that. In terms of his

family ties, his parents are Jose Julio De Lima (passed away in 2000) and Maria De Lima

(currently living in Simonésia, Brazil). He has two sisters, Nilcinei and Sirlei De Lima, and one

brother, Hebio De Lima. All of them live in Brazil.

          Mr. De Lima has two sons who currently live in Brazil with their mother Maria Perreira:

Wendel De Lima (19) and Geanderson De Lima (13). He also has a daughter who was born here

in the United States, Aaliyah De Lima (6). She lives with her mother, Elizabeth Spinola. Mr. De

Lima and Ms. Spinola were married but separated in September of 2017. Prior to living at his

last address on Water Street in Quincy, he and Ms. Spinola lived together with their daughter on

Knight’s Crescent Street in Randolph, MA. While here in the United States, Mr. De Lima has

worked, under the table, at various jobs including painting, construction and food delivery (pizza

restaurant).

          Mr. De Lima has been here in the United States since 2007 as an undocumented alien. He

entered on a tourist Visa and then overstayed. He has no criminal history while in this country.

Immigration authorities had encountered Mr. De Lima prior to the commencement of this federal

case in September of 2018 and removal proceedings were started against him. Immigration and

Customs Enforcement (“ICE”) has lodged a detainer for Mr. De Lima. The conviction in this

federal matter is likely to tip the scale in the pending removal proceeding toward his eventual

deportation to Brazil.

    II.      The Guideline Range Applicable In This Case

    The United States Probation Department’s calculation of the currently-applicable guidelines

in this case is as follows:
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    •     Counts 1 and 2 are grouped pursuant to U.S.S.G. § 3D1.2(d);

    •     Base offense level of 6, per U.S.S.G. § 2B1.1(a)(2);

    •     A 2 level reduction pursuant to § 3E1.1 (a), rendering a final offense level of 4.

Defendant agrees with the United States Probation Department’s conclusion that his criminal

history category is I, which results in a guideline range of 0-6 months.

   III.      A sentence of time served falls within the applicable guidelines range and is
             appropriate in this matter given the circumstances underlying the offense conduct.

          Mr. De Lima separated from his wife Elizabeth Spinola in September of 2017 when she

accused him of infidelity. He was carrying on an extramarital relationship and had not been

truthful with her about it. In the aftermath of their separation, Mr. De Lima moved out of their

home in Randolph but continued to see and financially support their daughter. Eventually, Ms.

Spinola began a dating relationship with Mario Oliveira Junior, Mr. De Lima became upset over

the situation and his relationship to Ms. Spinola soured. Jealousy is what drove Mr. De Lima to

create the letter anonymously sent to CIS that falsely accused Mario Oliveira Junior, an

undocumented alien, of making threats of violence against a local school. Mr. De Lima made

matters worse when he was confronted by FBI agents and denied any knowledge of the letter.

          Mr. De Lima has accepted responsibility for these grave mistakes which resulted in the

unnecessary expenditure of time and resources by both CIS and the FBI in the investigation of a

false claim. Furthermore, he understands that he created a great amount of stress and worry for

Mr. Mario Oliveira Junior in falsely accusing him of being a violent person who was set upon

harming innocent children at a local school. Mr. De Lima recognizes that he should have never

done these things but he let his emotions get the better of him and was only thinking of removing



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Mr. Oliveira Junior from his wife’s and his daughter’s lives. He simply did not want to lose his

family and acted rashly.

        Mr. De Lima has now been in custody since February 7, 2019 or for close to 6 months.

This time is now near the high end of the applicable guidelines range agreed to by the parties and

the United States Probation Department. This is Mr. De Lima’s first criminal case in the United

States after having quietly lived and worked here for a little over a decade. This conduct was an

aberration triggered by the dissolution of his marriage. The proposed sentence reflects the

seriousness of the offense.

       A sentence of time served has been a substantial one in Mr. De Lima’s personal

experience and it is sufficient to deter him from any further similar problems with the law in the

future. This conviction has also caused added complications to his already precarious

immigration situation. The removal proceeding that ICE has started will likely result in his

deportation to Brazil and separation from his daughter here in the United States. As an

immigration detainer is in place, a likely lengthy further period of time in ICE custody awaits

Mr. De Lima beyond the conclusion of these proceedings. Mr. De Lima respectfully asks that

this Court impose the requested sentence for the reasons cited above.

                                            Conclusion

       For the foregoing reasons, Mr. De Lima respectfully asks the Court to impose a sentence

of imprisonment of time deemed served with no period of supervised release to follow due to his

likely removal from the United States. This term of incarceration will provide punishment that is

sufficient, but no greater than necessary, to achieve the statutory purposes of sentencing in this

case. See 18 U.S.C. § 3553(a).

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                                             RESPECTFULLY SUBMITTED,

                                             CLEBIO PIO DE LIMA
                                             By His Attorney,

                                              /s/ Oscar Cruz, Jr.
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                                             Boston, MA 02210
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                                 CERTIFICATE OF SERVICE

        I, Oscar Cruz, Jr., hereby certify that this document filed through the ECF system will be
sent electronically to the registered participant, as identified on the Notice of Electronic Filing
(NEF) on July 29, 2019.

                                              /s/ Oscar Cruz, Jr.
                                              Oscar Cruz, Jr.




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